           Case 1:19-cv-03281-FVS                  ECF No. 16        filed 10/27/20       PageID.1060 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                             FILED IN THE
                                                                  for the_                                    U.S. DISTRICT COURT
                                                                                                        EASTERN DISTRICT OF WASHINGTON
                                                     Eastern District of Washington
                           JAIME E.,                                                                     Oct 27, 2020
                                                                                                              SEAN F. MCAVOY, CLERK
                                                                     )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 1:19-CV-03281-FVS
  ANDREW M. SAUL, COMMISSIONER OF SOCIAL                             )
                SECURITY,                                            )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion for Summary Judgment (ECF No. 11) is DENIED.
’
              Defendant’s Motion for Summary Judgment (ECF No. 12) is GRANTED.
              Judgment is entered in favor of the Defendant.



This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge             STANLEY A. BASTIAN                                              on motions for
        Summary Judgment (ECF Nos. 11 and 12)


Date: 10/27/2020                                                           CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Allison Yates
                                                                                          (By) Deputy Clerk

                                                                            Allison Yates
